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+30 DAYS CONTRIBUTION OR CONTRACT RENEWAL

 

 

 

 

 

 

 

   

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FREELY DECIDED TO CONTRIBUTE TQ CRYPTOFX LLC THE AMQUNT OF. 4 5 c OOO
ENT COMPANY OR PLATFORM, IT!S AN EDUCATIONAL ACADEMY OF FOREX AND CRYPTOCURRENCY.

WE ARE TAKING YOUR MONEY AND INVESTING IN OUR BEHALF. [F WE RECEIVED ENOUGH RETURN ON CRYPTO CURRENCY, WE WILL REPAY THE STUDENT A PORTION
OF THE TOTAL TUITION.

IN CONSIDERATION OF CRYPTOFX, LLC AGREEING TO ENTER INTO A VENTURE AGREEMENT, THE STUDENT ACKNOWLEDGES. UNDERSTANDS AND AGREES THAT:

- THE VENTURE IS VERY SPECULATIVE AND RISKY FOREIGN EXCHANGE AND CRYPTOCURRENCY TRADING IS HIGHLY SPECULATIVE AND THE STUDENT UNDERSTAND
AND IS WILLING TO ASSUME THE ECONOMIC, LEGAL, AND OTHER RISKS INVOLVED AND (B) IS FINANCIALLY ABLE TO ASSUME LOSSES

- THE STUDENT UNDERSTANDS THAT CRYPTOFX LLC IS A SIMPLE EDUCATIONAL ACADEMY NOT REGISTERED WITH THE TEXAS WORKFORCE COMMISSION NOR HAS
ANY REGISTRATION WITH THE SECURITY AND EXCHANGE COMMISSION AS A DEALER OR AS AN AGENT NOR HAS ANY INSURANCE COVERAGE.

THE STUDENT UNDERSTAND THAT WILL BE LEARNING THE STRATEGIES FOR TRADING FOREIGN CURRENCIES AS WELL AS CRYPTOCURRENCIES AND KNOWS THAT
THERE IS NO INVESTMENT PLAN.

   
 
   

OT Pt Nar NG) daat\ aNd)

AGREE TO KEEP THIS VENTURE AGREEMENT AS PRIVATE AND NOT TO SHARE ANY INFORMATION PROVIDED TO
OTRIERS. A ARED UNLESS HAVING PERMISSION BY CRYPTOFX, LLC

THE STUDENT FURTHER UNDERSTAND THERE IS A HIGH RISK IN TRADING FOREIGN CURRENCIES AND ACNKOWLEDGES HE/SHE DOES NOT KNOW NOR UNDERSTAND
THE FEES INVOLVED IN TRADING FOREIGN CURRENCIES.

THE STUDENT FURTHER UNDERSTAND THERE IS A HIGH RISK WITH THE CRYPTOCURRENCY AND IN TRADING IN CRYPTOCURRENCIES BECAUSE THE VOLATILITY OF THE

PRICE MAY DECREASE OVER A SHORT PERIOD OF TIME RESULTING IN SIGNIFICANT LOSS FOR THE STUDENT. A POSSIBLE HACKING INCIDENT OR MALICIOUS ATTACK
MAY NEGATIVELY IMPACT THE PRICE OF THE CRYPTOCURRENCIES AND IN THE EVENT OF THEFT OR FRAUD ARE DIFFICULT TO TRACE AND RECOVER.

ER eve gc. —remwoe\ $s.

STUDENT'S SIGNATURE CRYPTOFX,LLC REPRESENTATIVE CRYPTOFX,LLC RECEIVER

pTEOG-O72 = ate -04-722. DATE 2-GG-22

600 Town and Country Blvd, Suite 300, Houston, TX 77024 Tels: 832-888-6924 / 832-997-1240 / 832-404-1294 www.cryptofxia com

 

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Harris Declaration
Exhibit J
 

 

 

 

     

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Harris Declaration |
Exhibit L
EXHIBIT I

[Ismael Sanchez], [Mauricio Chavez], [Unidentified
speaker 1], [Juan Pua], [Julio], [Adriana Ramirez],
[Roba Lopez], [Rebecca Rodriguez], [Maria Chavez],
[Rossio], [Antonio], [Ignacio Fuentes], [Gabriel
Arroyez], [unidentified speaker 2], [unidentified
speaker 3], [unidentified speaker 4], (Gabriel Ochoa],

 

File Name: CFX Academy Conferencia En Houston Tx

 

[Dulce Ochoa], [Norma], [Katia Vega]

 

 

 

 

 

 

 

 

estan Houston? A ver vamos.
Escucharon a la gente de aqui,
local de Houston... porque
vamos a ver quien gana.
Houston o Chicago? Vamos
primero con Houston. Lideres
de Chicago, Norte Carolina. A
ver. ,D6nde estan? Wow.
Chicago. Chicago, no...
practicamente, Chicago es
una... para los que no
conocen, Chicago es una
ciudad muy pequefia.
Comparado con Houston, ino?
No me dejaran terminar.
Bueno, buenas tardes a todos.
Mi nombre es Ismael Sanchez.
Muchos ya me conocen.
Algunos no me han conocido.
Y este mes que entra, estamos

Person | Timestamp | Language (Source Audio) Target Language (Translation)
Speakin
[Dulce | [00:01:18] | Y sin miedo al éxito les And without any fear of
Ochoa] presento al sefior Ismael success, I present to you Mr.
Sanchez. Directamente desde | Ismael Sanchez. Straight from
Chicago para Houston, y para | Chicago to Houston, and to
impactar en todas las naciones. | reach all nations. So please,
Asi que un fortisimo aplauso _| give him a round of applause.
para él, por favor.
[Ignacio | [00:01:26] | Un fuerte aplauso para Ismael. | A round of applause for
Fuentes] Fuerte aplauso sefiores. Ismael. A round of applause
gentlemen.
[Dulce | [00:01:35] | Asi que muy agradecidos con | Very thankful to God above.
Ochoa] él de arriba.
[Ismael | [00:01:45] | Gracias Ignacio, gracias Thank you Nacho, thank you
Sanchez] Dulce. Buenas tardes, gc6mo | Dulce. Good afternoon, how

are you Houston? Let's see,
let's go. You heard the people
here, the Houston locals...
because we are going to see
who is ahead. Houston or
Chicago? Let's go with
Houston first. Chicago
leaders, North Carolina. Let's
see. Where are you? Wow.
Chicago. Chicago, no...
practically, Chicago is a... for
those of you who don't know,
Chicago is a very small city.
‘Compared to Houston, right?
You didn't let me finish. Well,
good afternoon, everybody.
My name is Ismael Sanchez.
Many of you already know
me. Some have never met
me. And this month we are

 

 

APP0166

1

 
 

 

 

 

de celebraciones, de mantener
los largos... cumple 2 anos
que empezamos esto equipo. Y
hoy en dia tenemos gente en
mas de 5 paises, y todo lo que
es aqui, Estados Unidos, todos
los estados. Y también somos
mas de 15000 personas en el
equipo. Todo gracias a
ustedes, lideres. Por el
compromiso que han puesto
con nosotros. Y llevar toda
esta carga en los hombros no
es facil. Es un poco dificil.
Pero todo se puede. Creo que
todos venimos a este pais por
un suefio, no? No tener
sueno, un suefio. No se
confundan. Porque muchos
dicen que tienen un suefio y se
quedan dormidos. Bueno. Esta
noche, [ininteligible] bien
tarde. Y también este... me
gustaria hoy, que estamos
aqui, presentarles a la persona
que hizo posible también que
todos ustedes tengan esas
ganancias que han tenido, esos
bonus que han tenido. Porque
somos uno equipo. Y a lo
mejor yo sin él no he podido
ser nada. Y sin mi tampoco
habria sido todo esto. Pero
toda la visién que tenemos o
hype de esto equipo, es hacer
por la primera vez la
diferencia en los latinos. Es
algo que yo siempre les he
pedido. Latinos nanos por la
primera vez. ,Porqué? Porque
todo el tiempo estamos muy
desunidos. A veces, un lider
llega mas arriba y se cree mas
que otro, y el otro que

 

celebrating, we are
celebrating, keeping the
long... it's been 2 years since
we Started this team. And
currently we have people in
more than 5 countries, and it's
all here, the United States, all
the states. And we are also
more than 15000 people in the
team. All thanks to you,
leaders. For the commitment
that you have made with us.
And carrying all this load on
your shoulders isn't easy. It's a
little difficult. But anything
can be done. I think we all
came to this country because
of a dream, right? Not to be
dreaming, but for a dream.
Don't get confused. Because
many people say they have a
dream and they sleep on it.
Well. Tonight, [unintelligible]
very late. And also, this... I
would like today, as we are
here, to introduce you to the
person who made it possible
forall of you to have these
earnings that you have had,
these bonuses that you have
had. Because we are a team.
And maybe without him I]
would have been nothing.
And without me all of this
wouldn't have been possible -
either. But the whole vision
that we have or hype of this
team, is to be the first to make
a difference in the Latin
community. It's something
I've always wanted. Latin
people come together for the
first time. Why? Because we
are always very divided.

 

 

2

APP0167
 

 

 

 

otro...que color tienen los ojos
de aquella persona. Todas esas
cosas. Aqui no hay nada de
eso. Somos uno para todos.
Eso es lo que yo siempre les
he pedido. ,Porqué? Porque
queremos dejar una historia en
los latinos por primera vez. Y
se esta pasando. En 2 afios que
tenemos como equipo, ya se
han creado mas de 3-5
millonarios en 2 afios. ;Quién
de ustedes quisiera ganar su
primero millon? Imaginense.
Mas de 100 personas han
ganado sus primeros 100000
délares. Mas de 50 personas se
han dejado sus trabajos. Todo
eso [ininteligible]. gY quién de
ustedes se identifica y quisiera
estar ahi? No es facil, pero no
es imposible. Y esta noche van
a conocer dos lideres. Y
bueno, sin mas, me gustaria
que conocieran a una de las
personas que ha hecho historia
en los latinos. En 5 afios ha
hecho historia en lo que es
aqui los Estados Unidos. Y
muchos de ustedes son parte
de esa historia, de ese cambio
en la vida, pues... muchas
cosas que a de lo mejor no
podrian a ser si no habia sido
por esta compafiia. Asi es que,
me gustaria que pusieran de
pie para recibir el CEO, sefior
Mauricio Chavez. Fuerte,
fuerte aplauso. Bueno, y para
los que no lo conocen, CEO de
CFX y una persona que
_admiro mucho a parte y ya ser
familia... es como mi
hermano.

 

Sometimes, a leader gets.
higher and thinks he is better
than someone else, and
someone else than someone
else...what color are the eyes
of that person. All those
things. There is none of that
here. We are one for all. That
is what I have always asked
for. Why? Because we want to
make history with the Latin
community for the first time.
And it is happening. In 2
years that we have as a team,
we have already created more
than 3-5 millionaires in 2
years. Who among you would
like to earn their first million?
Imagine that. Over 100 people
have earned their first
$100,000. Over 50 people
have left their jobs. All that
[unintelligible]. And who of
you identifies and would like
to get there? It's not easy, but
it's not impossible. And
tonight you are going to meet
two leaders. And well,
without further ado, I would
like you to meet one of the
people who has made history
in the Latino community. In 5
years he has made history in
the United States. And many
of you are part of that history,
of that life change, well...
many things that perhaps:
could not have been if it had
not been for this company. So,
I would like you to stand to
receive the CEO, Mr.
Mauricio Chavez. A round of
applause. Well, and for those
who don't know him, he is the

 

3

APP0168

 
 

CEO of CFX and a person I
admire very much, apart from
being family... he is like my
brother.

 

 

[Mauricio
Chavez]

 

[00:06:11]

 

,Ustedes me escuchan? ;Me
escuchan? ,Si? Wow,
[ininteligible] esta noche.
Bueno, antes que nada, vamos
a ver algo. ;Quién viene aca
de fuera de la ciudad?
Levanten la mano. {Qué parte?
Chicago? Todos ahi por la de
Chicago. Excelente, excelente.
Un aplauso para los de
Chicago, por favor. ;Quién
viene de New Jersey? A ver,
un aplauso para ellos, por
favor. Excelente, excelente. Y
quién viene del Texas? Pero,

i quien es latino que le gustaria
ser millonario? Que van
aprender a ser miliario esta
noche? Excelente. Mira, para
que tu puedas ser millonario tu
tienes que estar listo,
preparado para ser millonario.
,Cierto? No solamente con la
actitud, sino con las acciones
también. CFX, cuando ustedes
ven CFX... Qué ves tu
cuando ves CFX? Cuando ves
la marca CFX, jqué ves?
Libertad. {Qué mas? Levanten
la mano. {Qué mas? ;Qué ve
usted sefior? El signo dinero.

i Usted sefior? Excelente,
excelente. {Qué ve, Marcy?
Educacion. Excelente. Quien
conoce la marca como Google,
como Amazon, jy todos esos?
iTodos los conocemos, cierto?
Bueno yo, mi visién, cuando
las personas vean CFX, es que
vean una marca. {Cierto? Es

 

Can you hear me? Can you
hear me? Yes? Wow,
[unintelligible] tonight. Well,
first of all, let's see something.
Who's here from out of town? -
Raise your hand. Which part?
Chicago? Everybody over
here for the Chicago part.
Excellent. Let's hear it for
Chicago, please. Who's
coming from New Jersey?
Let's hear a.round of applause
for them, please. Excellent.
And who's from Texas? Who -
is a Latino who would like to
become a millionaire? Who's
going to learn how to be a
millionaire tonight? Excellent.
Look, for you to be a
millionaire you have to be
ready, prepared to be a
millionaire. Right? Not only
with the attitude, but with
your actions as well. When
you see CFX... What do you
see when you see CFX? When
you see the CFX brand, what
do you see? Freedom. What
else? Show of hands: What
else? What do you see? The
money sign. You, sir?
Excellent, excellent. What do
you see, Marcy? Education.
Excellent. Who knows brands
like Google, like Amazon, and
all of those? We all know
them, don't we? Well, my
vision is that when people see
CFX, they see a brand, right?
They see a more established

 

 

7

4

APP0169
 

 

 

 

que vean una marca de nivel
mundial mas reconocida. Y en
realidad, gracias a todo el
trabajo que cada uno de
ustedes han hecho, esta marca,
CFX, literalmente ya dejo una
estampa. ,Cierto?
[ininteligible] ya somos mas —
de 20 personas a hacerse
millonarios. Un aplauso para
eso. Mas de 5000 personas a
ganar literalmente mas de
500000 dolares. Un aplauso
para eso. {Ok? Y hay
muchisimos, muchisimos,
literalmente a pagar todas sus
deudas. ,Ok? A comprar un
auto nuevo. Una casa nueva. Y
literalmente ser libres. Ser
libres de trabajos. Hay
personas que comenzaron con
nosotros, que literalmente
tenian 3 trabajos, hoy en dia ya
van 2 afios disfrutando de esa
libertad. ;Si? Esa libertad que
se puede conseguir en realidad
a través de la educacion.
,Correcto? Cuando nosotros
fundamos CFX fue...
literalmente comenzamos en
2017. ,Ok? En 2017, me
acuerdo yo, que hicimos el
primer logotipo de CryptoFX.
Ok? Fue cuando se creo el
primer logotipo de CryptoFX.
Fue cuando... literalmente fue
cuando agarré una oficina, una
oficina que... muy pequefia.
Que literalmente la tinica
persona que estaba en esa
oficina, {quién creen ustedes
que era? Ok? Yo mismo
practicamente. {Ok? ;Pero
tenia qué? Una vision y una

‘that was in that office, who do

 

world-class brand. And
actually, thanks to all the
work that each one of you
have done, the brand, CFX,
literally already left a mark.
Okay? [unintelligible] we
already have more than 20
people becoming millionaires.
Let's hear it for that. Over
5,000 people to literally make
over $500,000. Let's hear it
for that. Okay? And there are
many, many, many, many,
literally paying off all their ~
debts. Okay? Buying a new
car. A new house. And
literally be free. To be free of
jobs. There are people who
started with us, who literally
had 3 jobs, today they've been
enjoying that freedom for 2
years now. Yeah? That
freedom that can actually be
achieved through education.
Right? When we founded
CFX it was... we literally
started in 2017. Okay? In
2017, I remember, we made
the first CryptoFX logo.
Okay? That's when the first
CryptoFX logo was created.
That's when...literally that's
when I got an office, an office
that... that was very small.
And literally the only person

you think it was? Okay?
Pretty much me. Okay? But
what did I have? A vision and
a mission, right? Okay? But I
was very clear about what I
wanted. What we wanted to
achieve. I don't think as of
2017... which is now what...

 

 

5

APP0170
 

 

 

 

misi6n. {Cierto? ;Ok? Pero
tenia muy claro lo que queria.
Lo que queriamos lograr. Yo
no creo que al 2017... que es
ahora lo que... literalmente lo
que fue un impacto grande en
lo que es la industria de la
criptoeconomia. {Que lo que
son las monedas llegaran a eso
punto qué? Mas alto. ¢Cierto?
Muchos se hicieron
millonarios. ;Correcto? Pero
muchos perdieron literalmente
todo. cierto? ;Por falta de qué
creen ustedes? De
conocimiento. Entonces mi
tarea desde entonces ha sido
educar a la mayor cantidad
posible de latinos en Estados
Unidos comenzando, jy ahora
onde vamos creen ustedes? Al
nivel mundial. {;Cierto? Antes
[ininteligible] mas de 20000
compafiias en lo que es la
industria de la criptoeconomia
al nivel mundial. ,Si? Y no
hay ninguna empresa que ha
logrado a hacer las historias de
éxito, y no solamente en lo que
es la industria de la
criptoeconomia, yo me atrevo
que decir que es el mercado en
red general, que lo hemos
hecho nosotros en CFX. Asi
un aplauso para eso, por favor.
Es increible la cantidad de
vidas que hemos impactado.
{Pero saben lo que es lo bonito
en todo esto? Alguien diga que
es. Que estamos apenas
comenzando. Estamos apenas
comenzando. Ok? ~Cuando
Ismael dice que habria 5

aises, dijo, pero cual? Yo no

 

literally what had a big impact
on what the crypto finance
industry is. That the coins
would get to that point and do
what? Go higher. Right?
Many became millionaires.
Right? But many literally lost
everything. Right? For lack of
what do you think?
Knowledge. So my task since
then has been to educate as
many Latinos as possible in
the United States starting out,
and now where do you think
we're going? Worldwide,
right? Before [unintelligible]
more than 20,000 companies
in what is the worldwide
crypto-economy industry.
And there is no other
company that has managed to
achieve such success, and not
only in the crypto-economy
industry, I dare say in the
networking market in general,
that we have done at CFX. So
a round of applause for that,
please. It's amazing how many
lives we've touched. But you
know what the beauty of it all
is? Somebody say what it is.
We're just getting started.
We're just getting started.
When Ismael said there would
be 5 countries, he said, but
which one? I don't know any.
We are literally just barely in
the United States. We're just
getting started in the United
States. And what has been
achieved today is something
incredible. That we never
imagined, okay? That it was
going to happen. But when

 

 

6

APP017'1
 

 

 

 

conozco ninguno. Literalmente
apenas estamos en los Estados
Unidos. Apenas estamos
comenzando a los Estados
Unidos. Y lo que se hay
logrado hoy en dia es algo
increible. Que jamas lo
imaginamos. {Ok? Que iba
ocurrir. Pero cuando tu tienes
la que... la vision correcta.
,Cierto? Todo se puede lograr.
4O no es asi? Yo me acuerdo

_| que cuando hablé con sefior
Ismael hace 2 afios atras, fue
justo al principio de la
pandemia. Marzo de 2020.
,Cierto, Ismael? Me acuerdo
yo que estamos haciendo un
Zoom... todo estaba cerrado.
Se acuerdan que todo estaba
cerrado? Un lugar que
literalmente le dice es un
coffee shop, que dice a mi
amigo se me puedes a prestar
para hacer una pequefia
reunion con una sola persona
dentro del coffee shop. Porque
solo el drive-thru estaba
abierto. {Cierto? Resulta que
eso coffee shop el siguiente
dia, ,cuantas personas crean
que habia? Habia como 5
personas. Después del tercer
dia habia 10 personas.
Después como que 20
personas. Y asi sucesivamente.
Literalmente mi amigo se ha
asustado porque pensaba que
[ininteligible] el negocio. Pero,
bueno, entonces me acuerdo
que fue cuando el sefior Ismael
tuvimos un Zoom como que
con 30 personas. ;Cierto?
Como con 30 personas. Y

| Mr. Ismael two years ago, it

‘thru was open, right? It turns

 

you have the right... the right
vision. Right? Anything can
be achieved. Or is it? I
remember when I talked to

was right at the beginning of
the pandemic. March 2020.
Right, Ismael? I remember
that we were doing a Zoom
call... everything was closed.
Do you remember that
everything was closed? A
place that literally is a coffee
shop, I asked my friend if I
could borrow the place to
have a small meeting with just
one person inside the coffee
shop, because only the drive-

out that that coffee shop the
next day, how many people do
you think there were there?
There were like 5 people.
After the third day there were
10 people. Then like 20
people. And so on and so
forth. Literally my friend’
freaked out because he
thought [unintelligible] the
business. But, well, then I
remember that was when we
had a Zoom meeting with Mr.
Ismael with like 30 people.
Right? About 30 people. And
so, they literally had been
through a very difficult
situation with what happened
in the crypto-economy, but
they wanted an opportunity.
They were hungry for what?
To learn, and they were
hungry to? To grow. Hungry
to help other people, right?
And, most of all, hungry for

 

 

7

APP0172
 

 

 

 

pues, ellos, literalmente,
habian pasado por una
situacion muy dificil con lo
que se paso en la
criptoeconomia, pero querian
una oportunidad. ,Tenian
hambre de qué? De aprender, y
jtenian hambre de? Crecer.
Hambre de ayudar otras
personas. ,Cierto? Y, sobre
todo, ,hambre de qué?
Hambre de éxito. zQuién tiene
hambre de éxito esta noche?
Con esa actitud no se van a
llegar a ningtn lado. Dios. Ok.
Cuando tu dices que tienes
hambre éxito, tienes que |
decirlo. Declararlo. No
solamente eso. Mostrar la
mejor actitud posible en el
mundo. {Cierto? Porque
cuando nosotros decidimos
hacernos millonarios, qué
creen ustedes que hicimos?
{Quién quiere ser millonario
aqui esta noche? Excelente.
{Sefiora, cuanto se necesita al
mes para ganar 1 millon de
dolares? ;Cuanto tienes que
ganar al mensual para ganar 1
millén de délares en 1 afio?
Usted aqui dice 100000. Ok.
Perfecto. ,Quién mas?
,Cuanto se necesita ganar al
mes para ganar | millon de
dolares en 1 afio? ¢Cuanto se
necesita ganar a la semana?
{Cuanto se necesita ganar al
dia? ,Cuanto se necesita
ganar la hora? Entonces, si no
saben ni siquiera cuando se
necesita ganar al mes, cuanto
se necesita a la semana, ni al
dia ni a hora, como th vas a

 

what? Hungry for success.
Who's hungry for success
tonight? That attitude will get
you nowhere. God. Okay.
When you say you're hungry
for success, you have to say it.
Declare it. Not just that. Show
the best possible attitude in
the world. Right? Because
when we decided to become
millionaires, what do you
think we did? Who wants to
be a millionaire here tonight?
Excellent. Ma'am, how much
does it take a month to make |
million dollars? How much do
you have to make a month to
make 1 million dollars in 1
year? You say 100,000 here.
Okay. Perfect. Who else? .
How much do you need to
make a month to make 1
million dollars in 1 year? How
much do you need to make a
week? How much do you ~
need to make a day? How
much do you need to make an
hour? So, if you don't even
know how much you need to
earn per month, how much
you need per week, or per day
or per hour, how are you
going to be a millionaire?
Right? If you ask a chef, what
does he consider the best
recipe? But he forgot the
recipe, or he is not prepared
with his recipe, how is he
going to be the best chef? So,
what I told them, for real,
those who want to be real
millionaires, break down very
well what you need to earn to
be a millionaire per month,

 

 

8

APP0173
 

 

 

 

ser millonario? ,Cierto? Si
ustedes le preguntan a un chef,
{que considera la mejor
receta? Pero se olvido de la
receta, 0 no esta preparado con
su receta, ,cOmo va a ser el
mejor chef? Entonces, lo que
les dijo, para la verdad, los que
quieren ser millonarios de
verdad, desglosen bien lo que
necesita ganar para ser
millonario al mes, a la semana,
al dia, por hora, y siempre
declaran [ininteligible]. Todo
el tiempo, paso a paso. ;Me
explico? ,Ok? Eso, al que no
lo crean, eso ha ayudado tantas
personas a lograr lo que hemos
logrado hoy en dia. ,Ok? Por
una cuestién de tiempo no es
un ejercicio con ustedes que
normalmente hago. {Ok? Pero,
literalmente es la manera como
hemos ayudado tanta gente
literalmente. Pero, bueno, para
que vamos a hablar de eso
mas. Vamos hablar un poquito
mas de CFX. Y CFX desde 5
afios, hemos logrado
literalmente o que nadie en el
mundo habia logrado en esa
industria que es la
criptoeconomia. Estamos tan
orgullosos de tantos latinos
que vinieran con hambre de
éxito. Con hambre de
aprender. Yo me acuerdo
cuando [ ininteligible] por la
primera vez. Ok? En esa
oficina tan pequefia. ;Cierto?
[ininteligible] que siempre
tenga comida. ,Siempre tenga
pizza, cierto? Bueno, hoy en
dia esa oficina pequefia,

 

per week, per day, per hour,
and they always state
[unintelligible]. All the time,
step by step. You know what I
mean, right? Even if you don't
believe it, this has helped so
many people to achieve what
we have achieved today.
Okay? Because of the timing
issue it's not an exercise that I
normally do with you guys.
Okay? But, it's literally the
way we've helped so many
people. But, well, let's talk
about that some more. Let's
talk a little bit more about
CFX. CFX in the last 5 years,
we have literally achieved
what nobody in the world has
achieved in the crypto-
economy industry. We are so
proud of so many Latinos who
came in with a hunger to
succeed. Hungry to learn. I
remember when
[unintelligible] for the first
time. Okay? In that small
office, right? [unintelligible]
always have food. Always
have pizza, right? Well, today
that small office has literally
made over 5 millionaires in
the last year. Okay? So many.
people whose lives have
literally changed. New Jersey
is going strong too. Right?
What else? North Carolina,
right? And Texas, how is it?
Not as strong yet. We're going
to have to keep you guys
stronger, right? Because
there's more people
[unintelligible]. So, look,
we're so proud, okay?

 

 

9

\ APP0174
‘

 

 

 

 

literalmente ha hecho mas de 5
millonarios el afio pasado.
Ok? Tantas personas que
literalmente han cambiado la
vida, New Jersey esta fuerte
también. {Cierto? gQué mas?
{Norte Carolina, cierto? ,Y
Texas, como esta? No tan
fuerte todavia. Vamos a tener
que mantener mas fuerte a
ustedes, ivale? Porque hay
mas gente [ininteligible].
Entonces, mira, la verdad es
que estamos tan orgullosos.
Ok? Literalmente a veces
nosotros a lado podemos tener
a la mejor persona, o la peor
persona. {Cierto? ;Quién es
una persona que roban tus
suefios a veces? La familia.
Los amigos. {Quién mas?
Qué dijo? Las mujeres, dijo.
Cierto que no mujeres. Eso no
es asi. No mas. Porque gracias
a Dios, nosotros hemos tenido
alguna persona que nos ha
apoyado siempre, hemos
estado ahi... gracias, gracias.
Hemos estado ahi... siempre
necesitas alguien en que se
estés apoyando. ,Ok? Siempre
necesitas alguien que te esté
inspirando. Que te esté
motivando. {Cierto? ;O no es
asi? Y sino la tienes
consiganla. [ininteligible]
conseguimos esta noche. ,Ok?
Literalmente necesitas a
alguien que te apoye. ,Ok?
Siempre necesitas a alguien
que te apoye. Ok? Entonces
que estamos tan orgullosos por
todo lo que hemos logrado.
Ok? Literalmente 5 afios

 

Literally sometimes we can
have the best person, or the
worst person, right? Who's a
person that steals your dreams
sometimes? Family. Friends.
Who else? What did he say?
Women, he said: Right, not
women. That's not so. Not
anymore. Because thank God,
we have had some people who
have always supported us, we
have been there... thank you,
thank you, thank you. We've
been here... you always need
someone to lean on, okay?
You always need someone
who's inspiring you. Who's
motivating you. Right? Am I
right? Or am I right? And if
you don't have someone get
someone [unintelligible] we
got tonight. Okay? You
literally need someone to back
you up. Okay? You always
need someone to back you up.
Okay? So we're so proud of
everything we've
accomplished.Okay? We
literally have done something
incredible in 5 years. That the
crypto-economy industry has
never seen before. Okay? And
we're just getting started.
That's the beauty of it, we're
just getting started, okay? The
vision this year is not to make
20 millionaires. The vision
this year is to make, how,
many millionaires do you
think? 100 millionaires.
Okay? The question is, who is
ready to be one of those 100?
Who is ready to be one of
those 100? Play music to see

 

 

10

APP0175
 

 

 

 

hemos hecho algo increible.
Lo que jamas en la industria de
la criptoeconomia se habia
visto. ok? Y estamos
comenzando. Eso es lo bonito,
que estamos comenzando.
Ok? La vision de este afio no
es hacer 20 millonarios. La
visiOn de este afio es hacer,
jcuantos millonarios creen
ustedes? 100 millonarios.
Ok? La pregunta es, ,quién
esta listo para ser uno de esos
100? {Quien esta listo a ser
uno de esos 100? Pone musica
para ver Si se [ininteligible].
Pone un poquito la musica...
[ininteligible] Wow. A ver
quién es... {quién va a ser uno
de estos 100 millonarios?
Excelente. Bueno, esta noche
le vamos a ensefiar un paso de
como van a ser millonarios.
Las siguientes personas que
van atender ustedes esta noche
literalmente son personas que
admiramos tanto. Ok?
Literalmente... una de las
personas que van a estar con
ustedes, yo no sabia ni
siquiera... se pueden sentar,
perdon. Ok. La persona que va
a estar con ustedes
literalmente, esta persona no
sabia ni siquiera como utilizar
una computadora cuando
comenz6 con nosotros. Fue
una de las primeras personas
que comenz6 con nosotros.
{Ok? En 2017, jcierto? ;Ok?
El con su esposa fue una de las
primeras personas que
confiaron en mi, en mi locuras.

 

if they [unintelligible]. Play a
little bit of music...
[unintelligible] Wow. Let's
see who is... who is going to
be one of these 100
millionaires? [unintelligible]
Excellent. Well, tonight we're
going to show you one step of
how you're going to be a
millionaire. The next people
that you're going to see
tonight are literally people
that we admire so much.
Okay? Literally... one of the
people that are going to be
with you, I didn't even know...
you can sit down, sorry. Okay.
The person that's going to be
with you literally, this person
didn't even know how to use a
computer when he started
with us. He was one of the
first people that started with
us. okay? In 2017, okay? He
and his wife were one of the
first people who trusted me, in
my craziness. Look at where
the craziness has taken us,
right? And that craziness,
literally not only did he learn
how to use a computer, but
he's one of our coaches today.
One of our Forex and binary
mentors. Okay? And you're
going to learn a lot from him
tonight. So, what do I mean
by that? That everything that
you guys want, you can what?
Achieve. Everything is what?
Not only want, but take .
action. Okay? We here at
CryptoFX are ready to help
people who want to take
what? Action. Forgive me. It

 

 

Mira esas locuras a donde han

11

APP0176
 

 

 

 

llegado. Ok? Y esas locuras,
literalmente no solamente
aprendié a como utilizar una
computadora, sino que es uno
de nuestros coaches hoy en
dia. De nuestros mentores de
Forex y binarias. Ok? Y con él
| van a aprender muchisimo esta
noche. Entonces, que quiero
vos decir con eso? Que todo lo
que ustedes quieren, {se pude
qué? Lograr. {Todo es qué?
No solamente quiere, sino que
tomar accion. ,Ok? Nosotros
aqui en CryptoFX estamos
listos para ayudar a las
personas que quieran jtomar ©
qué? Accion. Perdoname. Eran
5 minutos, pero como que me
emociono. Serio. En realidad,
ni hablar... tengo 2 afios de no
hablar en publico, gsino... esta
cierto? Ok? Entonces,
literalmente, déjenme decirles
que nos motivamos tanto por
las historias de éxito, por los
cambios de vida que estamos
haciendo a nivel mundial.
Ok? Pero nos vamos a
motivar mas cuando yo veo
que toda esta sala, estan ahi
millonarios. ;Cierto? La
verdad es que estamos muy,
muy orgullosos. Estamos listos
para llegar a otro nivel. Este
mes vamos a sacar productos
| nuevos. Este mes vamos a
sacar productos nuevos. Ok?
Estan listos en los Zoom,
dentro de los Zoom. Porque
literalmente vamos a llevar
nuestra academia a otro nivel.
Gracias por estar con nosotros
esta noche, y ahora los dejo_

 

was 5 minutes, but I kind of
got excited. Serious. Actually,
no way... I have 2 years of not
speaking in public,
otherwise... is that right?
Okay? So, literally, let me tell
you, we get so motivated by
the success stories, by the life
changes that we're making
globally. Okay? But we are
going to be more motivated
when I see that everybody in
this room is a millionaire.
Right? The truth is that we are
very, very proud. We are
ready to take it to the next
level. We're going to come
out with new products this
month. We're going to bring
out new products this month.
Okay? They're ready on the
Zoom meeting, inside the
Zoom meeting. Because we
are literally going to take our
academy to the next level.
Thank you for being with us
tonight, and now I leave you
with Mr. Ismael Sanchez, who
I admire very much because
of what he has achieved...
wow. It is incredible what he
has achieved. We are very,
very proud of each one of
you. Thank you for coming
from so far away. Okay?
Thank you, everyone from
Texas. We're going to do
more events like this. Okay?
But I leave you with this great
achiever. Successful man,
business owner. Mr. Ismael .
Sanchez.

 

 

12

APP0177
 

con el sefior Ismael Sanchez,
que él para mi es una persona
que la admiro muchisimo
porque lo que ha legrado él...
wow. Es increible lo que ha
logrado él. Estamos muy, muy
orgullosos de cada uno de
ustedes. Gracias por venir de
lejos. ,Ok? Gracias a ustedes
de Texas. Vamos hacer mas
eventos como estos. Ok? Pero
vos dejo con este gran
triunfador. Hombre exitoso,
hombre duefio de negocios. El
sefior Ismael Sanchez.

 

[Ismael
Sanchez]

[00:20:03]

Bueno, y gracias Mauricio por
estar con nosotros esta tarde. Y
la verdad, merece un aplauso
bastante por estar aqui. No?
Y... también este... para no
ser la noche tan larga, algo que
me gustaria que los recibiran
con fuerte aplauso, y nos va
hablar unos 5 o 6 minutos de
su trayectoria. Con nosotros,
ellos vienen de Miami,
Florida, y esto para que lo
conozcan... a lo mejor muchos
lo conocen, por que él esta
siempre con nosotros. Y me
gustaria que los recibieran con
un fuerte aplauso al sefior Juan
Pua, y su esposa. Bravo.

Well, thank you Mauricio for
being with us this afternoon.
You deserve a round of
applause for being here, right?
And... also this... in order not
to make the evening so long,
something I would like you to
welcome them with a round of
applause, and we will talk
about 5 or 6 minutes of their
career. With us, they come
from Miami, Florida, and this
so that you know him...
maybe many of you already
know him, because he is ©
always with us. And I would
like you to welcome Mr. Juan
Pua and his wife with a round
of applause. Bravo.

 

 

[Unidentified
speaker 1]

 

[00:20:51]

 

Para nosotros es un gusto
compartiendo estas
[ininteligible] con ellos, con
los lideres de aqui de... con
los que vieran de Chicago con
Dulce, con Ismael, y con
Gabriel, y con todos los lideres
que vienen de Chicago. Y para
nosotros, como siempre les

 

For us it is a pleasure to share
these [unintelligible] with
them, with the leaders here
from... with those who came
from Chicago with Dulce,
with Ismael, and with Gabriel,
and with all the leaders who
come from Chicago. And for
us, as I always told you, Iam

 

 

13

APP0178
 

 

 

 

cada vez que nosotros usamos
nuestro teléfono, usamos una
pagina web, usamos un —
sistema de informacién, que es
basicamente una
infraestructura gigante, es
basicamente una ciudad que se
construye igual, pero
virtualmente, para soportar que
nosotros podamos usar
Facebook, WhatsApp, el
internet, todo eso. ; Verdad?
Entonces, basicamente es lo
que estuve haciendo por 5
afios. Y recientemente, hace
varios meses me integré ya a
tempo completo a la academia
para ayudar a crecer lo que
estamos haciendo. No
solamente ser lideres dentro
del término académico, pero
empezar a ser lideres dentro
del mundo de criptomonedas
también. Bueno, entonces,
{por qué? , Porque les
ensenamos esta nueva
revolucién de criptomonedas?
, Verdad? En realidad, en el
dia de hoy, todos ustedes son
el 3% del mundo. El 3% del
mundo que esta en la mayor
revoluci6n digital a nivel
global que va a transformar
todo el sistema financiero. E]
dia de hoy fue anunciado que
la compafiia Charles Schwab
‘va a lanzar su primer fundo
ETF, que es un... un fundo
ETF es basicamente un
paquete de inversién que las
grandes corporaciones como
Charles Schwab, como
Fidelity, como Goldman
Sachs, todas ofrecen, para

 

virtually, to support that we
can use Facebook, WhatsApp,
the internet, all of that. Right?
So, basically that's what I was
doing for 5 years. And
recently, several months ago I
joined the academy full time

‘| to help grow what we are

doing. Not only to be leaders
within the academic term, but
to start being leaders within
the cryptocurrency world as
well. Well, then, why?
Because we are teaching them
this new cryptocurrency
revolution, right? Actually,
today, you are all 3% of the
world. The 3% of the world
that is in the biggest digital
revolution globally that is
going to transform the entire
financial system. Today it was
announced that the Charles

_| Schwab Company is going to

launch its first ETF fundo,
which is a... an ETF fundo is
basically an investment
package that big corporations
like Charles Schwab, like
Fidelity, like Goldman Sachs,
all offer, to offer their clients
a way to invest in
cryptocurrencies. So, now the
giant Charles Schwab is also
starting to enter the world of
cryptocurrencies. It's a little
bit of a newsflash as to how
valuable this market is .
becoming, isn't it? It's a $1
trillion market. It's up to 2
trillion. Right? Like any
market... Like any market it
has to adjust. Right? So, now
we all have the opportunity to

 

 

25

APP0179
 

el equipo. Siéntanse orgullosos
de pertenecer a la camiseta de
equipo de one billion. Porque
nos proximos afios vamos
hacer...

we want to bring to you, and
the team. Be proud to belong
to the one billion team jersey.
Because in the next few years
we're going to make...

 

[Julio]

 

[00:44:45] | Historia. History.
[Ismael | [00:44:46] | Historia. Bravo muchachos. Y | History. Bravo, guys. And
Sanchez] bueno, para no alargarlo well, not to make it too long,

mucho, vamos [ininteligible]
un testimonio. Y que nos digan
como es que se ya cambio la
vida en estar con CFX, y de
estar con el equipo de one
billion. Y que nos digan
cuanto tiempo tienen con
nosotros, y cuanto han ganado.
Hoy en dia lo pueden decir. Y
vamos a empezar con los que
estan aqui en frente. Todas... |
la sefiorita Adriana Ramirez.

let's [unintelligible] a
testimony. And tell us how
you have changed your life
being with CFX, and being
with the one billion team. And
tell us how long you have
been with us, and how much
you have earned. Today they
can tell us. And let's start with
the ones in front of us here.
All of them... Miss Adriana
Ramirez. Adriana

 

 

Adriana [ininteligible] [unintelligible]
[Adriana | [00:45:22] | [ininteligible] muchas gracias, | [Thank you very much,
Ramirez] Ismael. Como se sienten al Ismael. How are you today?

 

 

dia de hoy? Super? Imaginense
nosotros que estamos en
Chicago trabajando. Ustedes
tienen un clima, pues muy
rico, ahi tenemos que trabajar
cuando hace mucho calor y
cuando cae mucha nieve. Asi
es que estan... hoy en hoy,
estan en lo mejor, de verdad. A
mi me ha cambiado la vida
inmensamente, junto con mi
familia. Al principio nadie
cre6 en mi. Mis amigos, mi
familia mas cercana, pues todo
mundo decia “no, pues, esta
loca”. Un negocio mas. Pero,
hoy, te puedo decir que nos ha
cambiado la vida, yo creo que,
a muchos, y el 100% las
ersonas que vienen aqui

 

Great? It’s great to be here in
Chicago working. You have a
very nice climate; we have to
work there when it is very hot
and when there is a lot of
snow. So, you are... today,
you are at your best, really. It
has changed my life
immensely, along with my
family. At the beginning
nobody believed in me. My
friends, my closest family,
everyone said "no, well, she's
crazy". Just another business.
But, today, I can tell you that
it has changed our lives, I
think, for many, and 100% of
the people who come here
from Chicago. And not
personally, to me, thanks to

 

 

29

APP0180
 

 

 

 

desde Chicago. Y no personal,
a Mi, gracias a esa
oportunidad, a Mauricio, a
Ismael, a Gabriel Ochoa, a
Dulce Ochoa. Porqué? Porque
caminando en la mano de ellos
yo me pude retirar de mi
empleo. Yo trabajé 15 afios
para los recursos humanos. No
sé se aqui hay alguien que
haya trabajado en recursos
humanos. Pero yo pude
retirarme en 6 meses. Después
de 15 afios, y 6 meses después
de haber iniciado lo que es este
_| proyecto, yo me pude retirar.
Superando 2 veces lo que yo
hacia en | afio en lo que era la
academia. Entonces, recursos
humanos te paga alrededor, en
Chicago, de 50000 dolares al
afio. A la suma, 6 meses
después, lo duplicamos aqui en
CFX. ,Ok? Entonces, al afio
de haber estado ya en CFX, no
obviamente... pues
aprendiendo como se...
Mauricio, como dicen los

lideres, es mucho aprendizaje —

de todos los dias. Y tenemos
que aplicar muchisima lectura.
Asistir a todos los eventos.
Estar, obviamente, plegados al
sistema de este proyecto de lo
que es la academia. Pues,
obviamente, este al afio,
pudimos retirar a mi esposo.
Entonces, él estuvo en la
industria de los trailers. No sé
si aqui hay gente que maneja
trailers. 1 afio después de
haber iniciado este proyecto, él
se pudo retirar. ;No?
Vendimos los trailers. Dijimos

 

that opportunity, to Mauricio,
to Ismael, to Gabriel Ochoa, -
to Dulce Ochoa. Why?
Because walking hand in hand
with them I was able to retire
from my job. I worked 15
years for human resources. I
don't know if there is anyone
here who has worked in
human resources. But I was
able to retire in 6 months.
After 15 years, and 6 months
after starting this project, I
was able to retire. I was able
to retire twice what I made in
1 year in the academy. So,
human resources pays around
50,000 dollars a year in
Chicago. To sum it all up, 6
months later, we doubled it
here at CFX. Okay? So, after
a year of being at CFX,
obviously... well, learning
how to... Mauricio, as the
leaders say, it'salotof |.
learning every day. And we
have to do a lot of reading.
Attend all the events. To be,
obviously, in line with the
system of this project of what
the academy is. Well,
obviously, this year, we were
able to retire my husband. So,
he was in the trailer industry. I
don't know if there are people
here who handle trailers. One
year after we started this
project, he was able to retire,
right? We sold the trailers. We
said goodbye to the company.
We live 100% what CFX is.
100%. We have all the time in
the world. We're doing...
we're applying what our

 

 

30

APP0181
 

 

 

 

adids a la compajfiia. Vivimos
100% do que es CFX. 100%.
Tenemos todo tiempo en el
mundo. Estamos haciendo...
estamos aplicando lo que
ensena nuestro lider Juan Pua,
binarias. 1000 dolares al dia.
{Quién puede creer que se
puede ganar 1000 dolares al
dia? 1000 dolares al dia,
puedes ganarte tu en el que es
el sistema binarias, toda esa
industria. entonces, no
solamente estamos
beneficiados en lo que es
monetariamente, sino que
estamos aplicando liderazgo.
Estamos obteniendo lo que es
todo el conocimiento. _
{Porqué? Porque esto no es...
como siempre digo en las
presentaciones, esto
realmente... esta tecnologia no
es para nosotros, es para las
nuevas generaciones. Pero tu
estas aqui al dia de hoy, y tu
estas aqui en esta tierra.
Entonces tu tienes que aplicar
y adaptarte a esta tecnologia.
{Porqué? Porque va seguir
avanzando. Con nosotros 0 sin
nosotros. Entonces, si en 5
afios esta tecnologia te puede
dar 5, 10 millones de dolares,
lo vas a hacer o no vas hacer?
Claro que si. ,Porqué? Porque
acuérdate que no es para ti ya,
sino es para tu legado. No es
para las nuevas generaciones
que vienen. Entonces, yo les
doy las gracias a todos mis
lideres de Chicago, y a todas
las personas. A mi equipo que
ha confiado en mi el 100%

 

leader Juan Pua teaches,
binary. 1000 dollars a day.
who can believe that you can
earn 1000 dollars a day? 1000
dollars a day, you can earn in
the binary system, all that
industry. so, not only we are
benefiting in terms of money,
but we are applying
leadership. We are gaining
what is all the knowledge.
Why? Because this is not... as
I always say in the
presentations, this is really...
this technology is not for us, it
is for the new generations. But
you are here today, and you
are here on this earth. So you
have to apply and adapt to this
technology. Why? Because it
will continue to advance.
With us or without us.:So, if
in 5 years this technology can
give you 5, 10 million dollars,
are you going to do it or are
you not going to do it? Of
course [ am. Why? Because
remember that it is not for you
now, it is for your legacy. It is
not for the new generations to
come. So, I thank all my
leaders in Chicago, and all the
people. To my team that has
trusted me 100% from day
one. Right? So, it's a little bit
of me. It's an intro. Of what
we expect in Chicago. We
hope it's not the only time
we're here. We want to see
Houston grow. Because with
the same desire and the same
energy that Ismael started this
project in Chicago, they are
starting it with you. So, you

 

 

31

APP0182
 

desde el dia uno. ; Verdad?
Entonces, es un poquito de mi.
Es un intro. De lo que
esperamos en Chicago.
Esperamos que no sea la tinica
vez que estamos aqui.
Queremos ver el crecimiento
de Houston. Porque con esas
mismas ganas y con esa misma
energia que Ismael inicié este
proyecto en Chicago, lo estan
iniciando con ustedes.
Entonces, ustedes estan aqui a
5 minutos de la academia.
Valdérenlo, porque nosotros
tenemos que tomar avidn.
Tenemos que invertir nuestro
tiempo, nuestro dinero, para
poder estar aqui. ;Sale?
Entonces, muchisimas gracias
a todos. No sé quien siga, pero
fue un gusto estar con ustedes
esta noche

are here 5 minutes away from
the academy. Appreciate it,
because we have to take a
plane. We have to invest our
time, our money, in order to
be here. Is it OK? So, thank
you all very much. I don't
know who's next, but it was a
pleasure to be with you
tonight.

 

 

 

[Ismael | [00:49:55] | Gracias. Un aplauso. Adriana | Thank you. A round of
Sanchez] [ininteligible] también me applause. Adriana

gustaria pasar a la siguiente [unintelligible] I would also
persona que ha hecho historia | like to move on to the next
en lo que viene haciendo el person who has made history
equipo y CFX también con su | in what the team has been
equipo. El compromiso que doing and CFX also with its
tiene la sefiora Roba Lopez. team. The commitment that
Esta por aqui. Solamente 2 Mrs. Roba Lopez made. She
minutos. Rapidito. Porque is over here. Just 2 minutes.
queremos que conozcan todos | Quickly. Because we want
los lideres y digan su you to meet all the leaders and
testimonio. get their testimony.

[Roba Lépez] | [00:50:29] | Pues, yo les doy las gracias Well, I thank you because you

 

 

porque se dieron la
oportunidad de escuchar esto.
Y personalmente, a mi la vida
me ha cambiado porque puedo
estar con mis hijos, cosa que
no podia hacer antes, porque

 

gave yourselves the
opportunity to listen to this.
And personally, my life has
changed because I can be with
my children, which I could
not do before, because I

 

 

32

APP0183
 

pues entré, vi la oportunidad y
la vi en grande. Pero saben
una cosa? Este realmente me
arrepiento porque perdi 6
meses. Si? Estaba trabajando,
me interesO mas mi trabajo,
aun que vi la grande
oportunidad, me interesé,
acomodar la agenda, que esa
agenda talvez. Por no me estar
conectando dejé pasar 6
meses. Porque cuando regresé
a los 6 meses que ya estaba
lista para comprometerme,
pues vi todo lo que habia
originado en estos 6 meses.
Muchos que entraron conmigo.
Y yo los invito a que si ustedes
que estan el dia de hoy,
nuevos, de verdad que tomen

‘| accién e comprométanse

consigo mismos, y empezar a
ver que mas puedan obtener de
lo que la academia nos esta
ofreciendo. Realmente eso es
algo que yo queria
compartirles. Entren. Esto es el
momento. Yo lo que les puedo
decir, me ha ido muy bien. De
verdad, que nunca crei ganar
lo que estamos ganando. Hay,
que claro, pues,
comprometerse un poco. Y no
es ni mucho. Es un poco, nada
mas. Comprométanse consigo

_mismos, y vamos caminando.

Todavia no logré lo que
quiero, pero alla vamos. Ahi
nos vemos.

came in, I saw the opportunity
and I saw it big. But you
know what? I really regret this
one because I lost 6 months.
Yes? I was working, I was
more interested in my work,
even though I saw the great
opportunity, I was interested,
to accommodate the agenda,
that agenda maybe. Because I
wasn't in, I let 6 months go
by. Because when I came
back after 6 months, when I
was ready to commit myself, I

- saw everything that had

originated in those 6 months.
Many who entered with me.
And I invite you that if you
are new today, really take
action and commit to yourself,
and start to see what else you
can get from what the
academy is offering us. That's
really something I wanted to
share with you. Come on in.
This is the moment. What I
can tell you, I have done very
well. I really never thought I
would earn what we are
earning. Of course, you have
to commit a little bit. And it is
not much. It is a little, nothing
more. Make a commitment to
yourselves, and let's move
forward. I still have not
achieved what I want, but here
we go. See you there.

 

[00:56:25]

 

 

 

 

 

 

[Ismael Y cuanto gana al mes. And how much do you earn
Sanchez] per month?

[Maria | [00:56:29] | Si. Bueno, realmente, llevo... | Yes. Well, actually, I've
Chavez] been... this is 3 months in a

 

estes 3 meses consecutivos

36

APP0184
 

ganando 5000, después de
haber dejado los 500, 2000, los
2500. Ya vamos para los 5000.
Y a agarrando a los 10000.
,Verdad? Entonces, y eso es
nada mas de bonus elite. O
sea, independientemente de la
gente que va entrando, y los
bonus que nos van dejando.
No he tenido el gusto todavia
que alguien entre con un
paquete de 50000, y ando
buscando esa persona. Porque
yo veo los bonus cuando entra
una persona con 20000. Y me
emociono y yo digo, wow. El
recibir alguien que entre con
50000 ha de ser la préxima
meta. ok? Listo.

row I've been earning 5000,
after going over 500, 2000,
then 2500. We're up to 5,000.
And I'm holding on to the
10,000 staage. Right? So, and
that's just an elite bonus. That
is, regardless of the people
that are entering, and the
bonuses that are leaving us. I
haven't had the pleasure yet of
someone entering with a
50,000 package, and I'm
looking for that person.
Because I see the bonuses
when a person comes in with
20,000. And I get excited and
I'm like, wow. To have
someone come in with 50,000
has to be the next goal. Right?
I'm done.

 

 

[Ismael
Sanchez]

 

[00:57:15]

 

Ok. Felicidades. Bueno, es que
hay. Dijo que anda buscando

-alguien de 50. Eso va a

aparecer en cualquier ratito. Y
también este... bueno, hay
muchos lideres que quisieron
pasar para el testimonio, pero
el tiempo ya lo tenemos muy |
reducido, porque se alargo.
Entonces, les voy a nombrar
todas las personas que estan
haciendo historia en el equipo,
estan trabajando y lo que
vienen haciendo por el area de
las mujeres. Tenemos Ana
Manso, Rue Velazquez, Rosa,
Lucy [ininteligible]. Tenemos
a Graciosa Moura, tenemos a
Rosa Ortiz. Y del otro lado
tenemos también a Rosana,
Olga, de North Carolina, que
estan haciendo un buen
trabajo. Felicidades. Y de
verdad cualquier cosa, como

 

Ok. Congratulations. Well,
there it is. She said she's
looking for a 50000 referral.
That's going to pop up any
minute now. And also this...
well, there are many leaders
who wanted to come in for the
testimony, but wwe are
already very short on time,
because it got a little bit
stretched out. So, I am going
to name all the people who are
making history in the team,
who are working and what
they have been doing in the
women's area. We have Ana
Manso, Rue Velazquez, Rosa,
Lucy [unintelligible]. We
have Graciosa Moura, we
have Rosa Ortiz. And on the
other side we also have
Rosana, Olga, from North
Carolina, who are doing a
good job. Congratulations.

 

 

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U. S. SECURITIES AND EXCHANGE COMMISSION

Investigation # FW-04464
DECLARATION OF LEEVENTED HENLEY

Pursuant to 28 U.S.C. Section 1746, the undersigned states as follows:

1.

My name is Leevented Henley | am over twenty-one years of age and have personal knowledge of the
matters set forth herein.

(
I am assigned as an IT Specialist to the U.S. Securities and Exchange Commission’s Division of
Enforcement in Washington, D.C. As part of my duties, I have been trained to preserve various forms of
online content. For investigation # FW-04464, I have been tasked to conduct a Website Capture/Video
Capture/Social Media/Telegram/live stream/blog.

In support of investigation number # FW-04464 at the direction of my supervisor, I was tasked to conduct
an internet preservation of the following URL’s.

https://www.facebook.com/lema.marcelol
https://www.facebook.com/lema.marcelo1/photos
https://www. facebook.com/cpgalleria/reviews/?ref=page_internal
I completed the above-mentioned internet preservation on August 17, 2022, using the following tools:
Adobe Acrobat Pro / Google Search Browser / Fullpage Screen Capture /Fire shot Pro/

The above listed tools are commonly used to preserve internet content.
I saved the above-mentioned internet preservation using FTK Imager, which ensures that the internet
preservation will not be altered or modified during storage. Specifically, FTK Imager forensically seals the
internet preservation such that it can be opened only with FTK Imager. The sealed internet preservation
has been labeled # FW-04464 and saved to the following location:
K:\Other_Projects\Webcaptures\imagefiles

I also saved a copy of the above-mentioned internet preservation along with this declaration to a network
share. The location for this network share is provided below:

\\ad\ENFDataExchange\HOQtoFWRO_ dropoff\Webcapture

I declare under penalty of perjury that the foregoing is true, correct, and made in good faith.

a pe
Laeak Sd} ely — [Analyst Name] Executed on this 17 Day of August 2022.

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Emaih CamilleallenSS@gmai.com
WhatsAppr +1 (18) 962-7875

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Email: Deanfelix123@gmailcom

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true. Then i thought to myself, whal if this is it? what if this is my onty way of earning without
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ive read so much good reports about. i invested $500 in her forex service and in Sdays i got
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Email: Patriciawilliams!124@gmailcom

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U. S. SECURITIES AND EXCHANGE COMMISSION
Investigation # FW-04464

DECLARATION OF RUSSELL CASTILLO
Pursuant to 28 U.S.C. Section 1746, the undersigned states as follows:

1. My name is Russell Castillo I am over twenty-one years of age and have personal knowledge of the matters
set forth herein.

2. I am assigned as an IT Specialist to the U.S. Securities and Exchange Commission’s Division of
Enforcement in Washington, D.C. As part of my duties, I have been trained to preserve various forms of
online content. For investigation # FW-04464. I have been tasked to conduct a Website Capture/Video
Capture/Social Media/Telegram/live stream/blog.

3. In support of investigation number F W-04464, and at the direction of my supervisor, I was tasked to
conduct an internet preservation of the following URL’s:

https://cryptofxlearningacademy.com/
https://twitter.com/cryptofx_la
https://twitter.com/cryptofx_la/followers
https://twitter.com/cryptofx_la/following
https://www.instagram.com/Cryptofx_la/
https://www.linkedin.com/in/cryptofx-llc-a176501a9/
https://www.facebook.com/CryptoF XLearningAcademy/

4, I completed the above mentioned internet preservation on October 7, 2021, using the following tools:

Fireshot Pro
Video Downloader Ultimate

The above listed tools are commonly used to preserve internet content.

5. I saved the above-mentioned internet preservation using FTK Imager, which ensures that the internet
preservation will not be altered or modified during storage. Specifically, FTK Imager forensically seals the
internet preservation such that it can be opened only with FTK Imager. The sealed internet preservation
has been labeled FW-04464, and saved to the following location:
K:\Other_Projects\Webcaptures\imagefiles

6. Ialso saved a copy of the above mentioned internet preservation along with this declaration to a network
share. The location for this network share is provided below:

\\tsclient\K\Other_Projects\Webcaptures\Websites
I declare under penalty of perjury that the foregoing is true, correct, and made in good faith.

Pout Cutie

[Russell Castillo] Executed on this 7 day of October 2021

APP0211
